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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

IN RE NEO WIRELESS, LLC                        2:22-MD-03034-TGB
PATENT LITIGATION                         HON. TERRENCE G. BERG

                                          OPINION AND ORDER
                                        DENYING JOINT MOTION TO
                                          STAY PENDING INTER
                                            PARTES REVIEW
                                              (ECF NO. 145)

                                           THIS MEMORANDUM
                                           OPINION AND ORDER
                                          RELATES TO ALL CASES

      Pending before the Court is the Joint Motion to Stay Pending Inter

Partes Review of the Asserted Patents (the “Motion”) filed by Defendants

Ford Motor Company, American Honda Motor Co., Inc., Honda
Development & Manufacturing of America, LLC, Nissan North America,

Inc., Nissan Motor Acceptance Corporation a/k/a Nissan Motor

Acceptance Company, LLC, Toyota Motor Corporation, Toyota Motor
North America, Inc., Toyota Motor Sales, U.S.A., Inc., Toyota Motor

Engineering & Manufacturing North America, Inc., Toyota Motor Credit

Corporation, General Motors Company, General Motors, LLC, Tesla,

Inc., and FCA US, LLC (collectively “Defendants”).1 ECF No. 145.


1 Defendant Mercedes-Benz USA, LLC was dismissed from the case on

June 29, 2023. ECF No. 162. Defendants Volkswagen Group of America,
Inc. and Volkswagen Group of America Chattanooga Operations, LLC


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Plaintiff Neo Wireless, LLC’s (“Plaintiff” or “Neo”) filed an Opposition.

ECF No. 148. Defendants filed a Reply. ECF No. 149. For the reasons

stated in this opinion and order, the Court DENIES Defendants’ Joint

Motion to Stay Pending Inter Partes Review of the Asserted Patents. 2
       I.    FACTUAL AND PROCEDURAL BACKGROUND

     This multidistrict litigation (“MDL”) was transferred to this Court

in June 2022. ECF No. 1. Plaintiff alleges that Defendants infringe: U.S.

Pat. No. 10,833,908 (the “’908 Patent”); U.S. Pat. No. 10,447,450 (the

“’450 Patent”); U.S. Pat. No. 10,075,941 (the “’941 Patent”); and U.S.

Pat. No. 10,771,302 (the “’302 Patent”) (collectively “Asserted Patents”).3
     Between September 2022 and January 2023, Defendants filed a

number of petitions for inter partes review (“IPR”) for the Asserted

Patents.4 A number of the petitions were denied or terminated per the
parties’ agreement, while petitions were granted for the ’941 Patent and


were dismissed from the case on January 11, 2024. ECF No. 226.
2 On February 2, 2024, Defendants emailed the Court requesting an

opportunity to supplement the briefing on the Motion, and to request a
hearing on the Motion. The Court finds that a hearing and supplemental
briefing is unnecessary, and decides the Motion on the briefs and
procedural background of the case.
3 The Court concluded that a disputed term in the Asserted Claims in

U.S. Pat. No. 8,467,366 (the “’366 Patent”) is indefinite. ECF No. 198,
PageID.11579. U.S. Pat. No. 10,965,512 (the “’512 Patent”) was
dismissed at the request of the parties on January 23, 2024. ECF No.
223.
4 See Status Update of Inter Partes Review (IPR) Post-Grant

Proceedings. ECF Nos. 101, 121, 140, 152, 153, 179, 186, 194, 195, 197.


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the ’450 Patent. The petition for the ’941 Patent was granted on May 5,

2023, and the U.S. Patent Trial and Appeal Board (“PTAB”) must make

a final determination by May 5, 2024, excluding any extension. The

petition for the ’450 Patent was granted on May 4, 2023, and the PTAB

must make a final determination by May 4, 2024, excluding any

extension. Parties seek a stay pending the PTAB’s determination of

these petitions.

        The petitions for the ’908 Patent and the ’302 Patent were denied.

After the petitions were denied, one defendant then filed an ex parte

reexamination request. The reexamination request was granted for the
’908 Patent on January 2, 2024, and for the ’302 Patent on October 23,

2023.

        Regarding the stage of the MDL, the Court held a claim
construction hearing on June 21, 2023, and issued a Claim Construction

Memorandum         and   Order     construing     fourteen   terms/phrases   on

November 20, 2023. ECF 198. The current deadline to complete fact

discovery was February 12, 2024, and expert reports are due to be

exchanged beginning on March 11, 2024. See January 25, 2024 Text

Order Granting ECF No. 220-1.
                             II.     ANALYSIS

             A. Standard of Review

        Courts have “broad discretion to determine whether a stay is
appropriate” pending inter partes review. Regents of the Univ. v. St. Jude


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Med., Inc., No. 12-12908, 2013 U.S. Dist. LEXIS 76845, at *5 (E.D. Mich.

May 31, 2013); see also Clinton v. Jones, 520 U.S. 681, 706 (1997) (“The

District Court has broad discretion to stay proceedings as an incident to

its power to control its own docket.”). Determining the best way to

manage the court’s docket “calls for the exercise of judgment, which

must weigh competing interests and maintain an even balance.” Landis

v. N. Am. Co., 299 U.S. 248, 254–55 (1936). The party seeking a stay has

the “burden of showing that the circumstances justify the exercise of

that discretion.” Everlight Elecs. Co. v. Nichia Corp., Civil Action No. 12-

11758, 2013 U.S. Dist. LEXIS 61666, at *18 (E.D. Mich. Apr. 30, 2013).
     Courts consider three factors in determining whether to grant a

stay: “(1) whether discovery is complete and whether a trial date has

been set; (2) whether a stay will simplify the issues in question and trial
of the case; and (3) whether a stay would unduly prejudice or present a

clear tactical disadvantage to the non-moving party.” Regents of the

Univ. v. St. Jude Med., Inc., No. 12-12908, 2013 U.S. Dist. LEXIS 76845,

at *5 (E.D. Mich. May 31, 2013).

           B. Discussion

     After reviewing the parties’ arguments, the Court finds that a stay
is not appropriate for the following reasons.

              1. The Stage of This Litigation Disfavors a Stay.

     When the Motion was originally filed, Defendants argued that fact
discovery was ongoing, and that the parties had not taken any


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depositions of each other or completed document production. ECF No.

145, PageID.10410–11.5 Defendants further argue that these cases were

consolidated to promote efficiency, reduce conflicting rulings, and

conserve the parties’ and Court’s resources. ECF No. 145, PageID.10411.

According to Defendants, a failure to stay this MDL case would

frustrate, rather than promote, those goals. Id.

     Plaintiff argues that this case is now far from an “efficient stopping
point.” ECF No. 148, PageID.10686 (citing Ethicon LLC v. Intuitive

Surgical, Inc., No. 17-871, 2019 WL 1276029, at *2 (D. Del. Mar. 20,

2019)). At the time the Motion was filed, Plaintiff argued that the stage
of this case represents over a year of complex, time-intensive work to

consolidate nine cases into one MDL, conduct extensive and complicated

discovery, and submit complete claim construction briefing. ECF No.
148, PageID.10686–87. Plaintiff further argues that the parties have

also engaged, with the Court’s encouragement, in extensive settlement

discussions, resulting in the successful settlement of Neo’s claims as to

one defendant on June 6, 2023. ECF No. 148, PageID.10687 (citing ECF

No. 147). After the motion was filed, another defendant settled on

January 11, 2024. ECF No. 226.



5 Citations to the parties’ filings are to the filing’s number in the docket

(ECF No.) and pin cites are to the PageID numbers assigned by the
Court’s electronic filing system.


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     Considering the current posture of this case, the Court concludes

that Plaintiff’s position is correct. The present stage of the case weighs

against a stay, especially in this unique MDL context. Defendants filed

the motion in May 2023. Since then, the Court held a claim construction

hearing and issued a Claim Construction Memorandum and Order

construing fourteen terms/phrases in the Asserted Patents. ECF No.

198. Fact discovery is complete or near completion, and expert reports

are due to be exchanged beginning on March 11, 2024. See January 25,

2024 Text Order Granting ECF 220-1. At this stage, a stay would do

nothing more than draw out the time before the MDL cases are
remanded back to their courts of origin. Accordingly, this factor weighs

against a stay.

              2. A Stay Will Unduly Prejudice Plaintiff.
     Defendants argue that a stay pending the completion of the IPR

proceedings will not prejudice Plaintiff. ECF No. 145, PageID.10420.

Defendants contend that Plaintiff does not make or sell any products,

does not practice the technology, had no role in developing the patented

technology, and has no business activities relating to developing

technology or making or selling any product. Id. Defendants further
argue that Plaintiff is backed by a litigation funding entity that exists to

assert patents it holds in its portfolio in hopes of a financial return. Id.

Defendants also argue that Plaintiff delayed in bringing these suits for
more than two years. ECF No. 145, PageID.10421.


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     The Court cautioned Defendants that it views stays pending IPR

as “extremely disruptive” and “not … very effective [] in terms of helping

the parties resolve anything,” as the process “introduces more delay and

the parties end up raising similar arguments before the Court[.]” July 7,

2023 Status Conference Hr’g Tr., ECF No. 56, PageID.2176–77. Ford

and Honda waited to file their respective IPRs until the latest possible

moment under the one-year time bar. Furthermore, Plaintiff represents

to the Court that Defendants refused to confirm whether they intended

to file any additional IPRs or to agree not to seek an extension of any

stay based on IPRs that may be filed by additional third parties. ECF
No. 148, PageID.10700.

     Likewise, one Defendant waited until after the IPR petitions were

denied for the ’908 Patent and the ’302 Patent before filing
reexamination requests. Defendants’ staging of IPRs and reexamination

requests provide Defendants with the tactical advantage of enabling the

longest possible stay, a tactic that is unduly prejudicial to Plaintiff.

     Finally, a stay prejudices Plaintiff’s interest in obtaining an

expeditious resolution of its case. Kahn v. GMC, 889 F.2d 1078, 1080

(Fed. Cir. 1989) (illustrating the Federal Circuit’s long held position that
there is strong public policy in favoring expeditious resolution of

litigation). Indeed, “the mere fact that [a plaintiff] is not currently

practicing the patents does not mean that, as a matter of law, it is not
prejudiced by a substantial delay of an imminent trial date.” Rembrandt


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Wireless Techs., LP v. Samsung Elecs. Co., No. 13-213, 2015 U.S. Dist.

LEXIS 20303, at *9 (E.D. Tex. Jan. 29, 2015). Accordingly, this factor

weighs against a stay.

              3. A Stay is Unlikely to Simplify the Issues in this
                 Case.
     Defendants argue that a stay will avoid waste of judicial resources.

ECF No. 145, PageID.10416. Defendants contend that a stay will avoid

wasteful discovery and will also allow the parties and the Court to

consider statements made to the Patent Office when analyzing the scope
of claims. ECF No. 145, PageID.10416–18. Defendants also argue that if

a stay is not instituted now, the parties and the Court will likely have to

redo portions of the case. ECF No. 145, PageID.10418.
     Plaintiff responds that four of the six asserted patents have

previously defied IPR challenges by other petitioners. ECF No. 148,

PageID.10695.    Plaintiff   also   argues     that   Defendants’   projected

simplification is one-sided. ECF No. 148, PageID.10696. Plaintiff further

contends that the PTAB rulings will not resolve the other defenses

raised by Defendants, including waiver, estoppel, lack of statutory

subject matter under 35 U.S.C. § 101, prosecution laches, and other

equitable defenses. ECF No. 148, PageID.10697.

     Contrary to Defendants’ argument, the Court agrees with Plaintiff

that any remaining fact discovery, including the discovery required from

third parties, and most expert discovery will remain largely unchanged



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by any IPR decisions. All six originally asserted patents share the same

inventors, meaning no depositions will be wasted even if some patents

are ultimately cancelled.

     Moreover, there will not be a waste of judicial resources because

the parties have exchanged detailed infringement, invalidity, and non-

infringement/validity contentions, and the Court has provided a claim

construction order. Moreover, two defendants have settled their disputes

with Plaintiff. ECF Nos. 162, 226. Likewise, the Court concluded that a

disputed term in the Asserted Claims in the ’366 Patent is indefinite.

ECF No. 198. In addition, the parties stipulated to dismissing the ’512
Patent, and terminating their respective IPR proceedings. ECF No. 219.

     The Court questions whether these efficiencies would have been

realized if the MDL had been stayed, particularly at the time
Defendants originally requested the stay. By proceeding with the MDL,

the remaining parties can use the pending IPRs as guidance in further

narrowing their respective cases and do their best to avoid the likelihood

of any wasted effort.

     In the meantime, the parties and the Court will fully and

efficiently litigate all of Defendants’ defenses for each patent, such
that—regardless of what happens in the IPRs—the cases will stand

ready for trial, or continue to progress towards possible settlement.

Accordingly, the Court finds that a stay pending IPR would not simplify
the issues in this case at this juncture.


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      Indeed, at the request of Defendants, the Court permitted the

parties to file supplemental briefing for disputed terms in the ’512

Patent and ’941 Patent based on two decisions of the PTAB, which

occurred after the claim construction briefing. June 6, 2023 Text Order.

The Court reviewed the supplemental briefing, and it did not appear to

cite to any new statements made by Plaintiff since the claim

construction briefing was originally filed. ECF Nos. 150, 151, 154, 155.

Instead, the briefing only cited to statements made by the PTAB in its

Decision Granting Institution of IPR. Thus, contrary to Defendants’

contention, the IPRs have yet to yield a host of new claim construction
fights. Accordingly, this factor weighs against a stay.

                           III. CONCLUSION

      For the foregoing reasons, the Joint Motion to Stay Pending Inter
Partes Review of the Asserted Patents, ECF No. 145, is DENIED.

      It is SO ORDERED.
Dated: February 20, 2024       /s/Terrence G. Berg
                               HON. TERRENCE G. BERG
                               UNITED STATES DISTRICT JUDGE




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